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            IN THE UNITED STATES DISTRICT COURT FOR
             THE WESTERN DISTRICT OF PENNSYLVANIA

                                         :
DONALD J. TRUMP FOR                      :   Civil Action
PRESIDENT, INC., et al.,                 :
                                         :   No. 2:20-CV-966
                         Plaintiffs,     :
                                         :
            v.                           :   Judge J. Nicholas Ranjan
                                         :
KATHY BOOCKVAR, et al.,                  :
                                         :
                         Defendants.     :

                          ENTRY OF APPEARANCE

      TO THE CLERK:

      Kindly enter my appearance on behalf of defendant Philadelphia County

Board of Elections in the above-captioned matter.

Date: July 13, 2020                      /s/ Zachary Strassburger
                                         Zachary Strassburger, Esq. (ID 313991)
                                         1515 Arch St, 17th Floor
                                         Philadelphia, PA 19102
                                         Telephone: (215) 683-2998
                                         Email: zachary.strassburger@phila.gov
                                         Attorney for Philadelphia County
                                         Board of Elections
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                         CERTIFICATE OF SERVICE


      I certify that on July 13, 2020, I caused a true and correct copy of the

foregoing Entry of Appearance to be electronically filed and served with the Court

using the Electronic Case Filing System.

                                       /s/ Zachary Strassburger
                                       Zachary Strassburger
